Case 18-06208-dd             Doc 30       Filed 06/05/19 Entered 06/05/19 13:06:56                       Desc Main
                                          Document      Page 1 of 2


                                  UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF SOUTH CAROLINA
                                        CHARLESTON DIVISION

IN RE:

Robert William Morgenroth                                              Case # 18-06208-DD
Kathleen Ellen Morgenroth
                                                                       Chapter 7

                                 Debtor(s)

                     APPLICATION FOR APPOINTMENT OF REAL ESTATE AGENT

         Michelle L. Vieira, Trustee for the above-captioned estate, would respectfully show the Court as follows:

         1.        She is the appointed and acting trustee in the above referenced bankruptcy proceeding duly
qualified and acting.

          2.       The bankruptcy proceeding contains real property located at 16 Doe Point, St. Helena Island,
SC 29920. Your trustee is informed and believes that the employment of a real estate agent will improve the sales
price for the property and for the effective administration of this estate.

         3.        Applicant is informed and believes that Jackson L. Cobb, SRA, CCIM, 1126 Pine Croft Drive,
West Columbia, South Carolina 29170; (803) 794-5152 is a disinterested party and is qualified to act as such real
estate agent in the matter.

        4.        The trustee proposes employing Jackson L. Cobb at a commission rate of Six (6%) Percent, to be
approved by the court. The Trustee and Jackson L. Cobb understand that the amount of compensation awarded by
the Court is subject to review pursuant to 11 U.S.C. §330 and may be different than the amount requested herein.

        5.        The Trustee requests that the real estate agent be authorized to deduct his commission from the
proceeds of sale prior to the delivery of net proceeds to the Trustee.

          6.       Jackson L. Cobb has no connection with the debtor, the creditors, their respective attorneys and
accountants, the United States Trustee, nor any person employed in the Office of the United States Trustee, except
as specified in the affidavit of disinterestedness accompanying this application.

         WHEREFORE applicant prays that this court issue its order authorizing the employment of Jackson L.
Cobb as real estate agent of this estate, at a fee to be set by this court, but in no event to exceed six (6%) percent of
the gross sales price, to be deducted from the proceeds of sale prior to the delivery of net proceeds to the Trustee,
and for such other and further relief as this court deems just and proper.

Dated at Myrtle Beach, South Carolina,
June 4, 2019


                                                        /s/ Michelle L. Vieira
                                                       Michelle L. Vieira, Trustee
                                                       District Court ID #9876
                                                       P O Box 1480
                                                       Murrells Inlet, SC 29576
                                                       Phone (843) 497-9800
                                                       Fax (843) 497-9881
                                                       email: Trustee@Chapter7.email
Case 18-06208-dd   Doc 30   Filed 06/05/19 Entered 06/05/19 13:06:56   Desc Main
                            Document      Page 2 of 2
